182 F.2d 348
    Charles William EDMISTON, Appellant,v.UNITED STATES of America, Appellee.
    No. 13133.
    United States Court of Appeals,Fifth Circuit.
    June 7, 1950.
    
      Appeal from the United States District Court for the Northern District of Texas; T. Whitfield Davidson, Judge.
      Charles Wm. Edmiston, in pro. per.
      William Cantrell, Jr., Asst. U.S. Atty., Dallas, Tex., for appellee.
      Before HOLMES, WALLER, and BORAH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The judgment appealed from is affirmed.
    
    